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                                                                 UNITED STATES BANKRUPTCY COURT
                                                                        DISTRICT OF OREGON
 In re                                                                      )    Case No. 18-33945                      (If Known)
 Jon Charles Strand                                                         )    AMENDED
 Tiffany May Strand                                                         )    CHAPTER 7 INDIVIDUAL DEBTOR'S*
                                                                            )    STATEMENT OF INTENTION(S)
 Debtor(s)                                                                  )    PER 11 U.S.C. §521(a)

IMPORTANT NOTICES TO DEBTOR(S):
1.Complete, sign and file this form even if you have no debts secured by property of the estate or personal property subject to unexpired leases. If
creditors are listed, make sure the certificate of service is completed.
2. Failure to perform the intentions as to property stated below within 30 days after the first date set for the Meeting of Creditors
under 11 USC §341(a) may result in relief for the creditor from the Automatic Stay protecting such property.

PART A - Debts secured by property of the estate. (Part A must be fully completed for each debt which is secured by property of the estate. Attach
additional pages is necessary.)


   IF NONE - Check this box.
 Property No. 1
 Creditor's Name:                                                                           Describe Property Securing Debt:
 Bank of America                                                                            5735 NE 109th Ave., Portland, OR 97220
 Property will be (check one):            SURRENDERED                   RETAINED

 If retaining the property, I intend to (check at least one):
      Redeem the property
      Reaffirm the debt
      Other. Explain (for example, avoid lien using 11 USC §522(f)

 Property is (check one):            CLAIMED AS EXEMPT                     NOT CLAIMED AS EXEMPT

   IF NONE - Check this box.
 Property No. 2
 Creditor's Name:                                                                           Describe Property Securing Debt:
 US Bank                                                                                    5735 NE 109th Street, Portland, OR 97220
 Property will be (check one):            SURRENDERED                   RETAINED

 If retaining the property, I intend to (check at least one):
      Redeem the property
      Reaffirm the debt
      Other. Explain (for example, avoid lien using 11 USC §522(f)

 Property is (check one):            CLAIMED AS EXEMPT                     NOT CLAIMED AS EXEMPT

PART B - Personal property subject to unexpired leases. (All three columns of Part B must be completed for each unexpired lease. Attach additional
pages if necessary.)

   IF NONE - Check this box.
 Property No. 1
 Lessor's Name:                                                      Describe Leased Property:                   Lease will be assumed pursuant to 11 USC
                                                                                                                 §365(p)(2)
                                                                                                                               YES         NO
            Continuation sheets attached (if any).




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 I DECLARE UNDER PENALTY OF PERJURY THAT THE ABOVE                      I/WE, THE UNDERSIGNED, CERTIFY THAT COPIES OF BOTH THIS
 INDICATES INTENTION AS TO ANY PROPERTY OF MY ESTATE                    DOCUMENT AND LOCAL FORM #715 WERE SERVED ON ANY
 SECURING A DEBT AND/OR PERSONAL PROPERTY SUBJECT TO                    CREDITOR NAMED ABOVE.
 AN UNEXPIRED LEASE.
 DATE: January 17, 2019                                                 DATE: January 17, 2019

 /s/ Jon Charles Strand                                                 /s/ John Pinzelik                                      053511 OR
 DEBTOR'S SIGNATURE                                                     DEBTOR OR ATTORNEY'S SIGNATURE                  OSB# (if attorney)

 /s/ Tiffany May Strand
 JOINT DEBTOR'S SIGNATURE (If applicable)                               JOINT DEBTOR'S SIGNATURE (If applicable and no attorney)
                                                                        John Pinzelik 053511       503-224-3100
                                                                        PRINT OR TYPE SIGNER'S NAME & PHONE NO.
                                                                        River Forum I
                                                                        4380 SW Macadam Ave., Suite 590
                                                                        Portland, OR 97239
                                                                        SIGNER'S ADDRESS (if attorney)


    NON-JUDICIAL REMEDY WHEN CONSUMER DEBTOR FAILS TO TIMELY PERFORM STATED INTENTIONS
Creditors, see Local Form #715 [attached if this document was served on paper] if you wish information on how to obtain non-judicial
relief from the automatic stay of 11 U.S.C. §362(a) as to your collateral.
                                                        QUESTIONS????
Call an attorney with questions about these procedures or the law. However, only call the debtor's attorney if you have
questions about the debtor's intent as to your collateral.




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